Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 1 of 9




                        EXHIBIT H
                 Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 2 of 9




                         Tiffany R. Hedgpeth
                         Direct Phone : 213.680.6442
                         Direct Fax: 213.830.8642
                         tiffany.hedgpeth @bingham.com

                         March 18, 2011

                         Via Email and U.S. Mail

                         J. Andrew Langan, Esq.
                         Kirkland & Ellis LLP
                         300 North LaSalle Street
                         Chicago, IL 60654
                         andrew.langhan@kirkland.com


                         Re: BP Parties' Responses to Anadarko Petroleum
                             Corporation's   Interrogatories  and   Requests     for
                             Production of Documents[Request for Meet and Confer

                         Dear Mr. Langan:

                         We write in connection with the BP Parties' Responses and Objections to
                         Defendant Anadarko Petroleum Corporation's Interrogatories and Requests for
                         Production of Documents, dated February 22, 2011. As detailed below, many of
                         the BP Parties' responses are incomplete and/or deficient under the Federal Rules
                         of Civil Procedure and applicable case law. As such, Anadarko Petroleum
                         Company ("Anadarko") requests a "meet and confer" with the BP Parties no later
                         than March 25, 2011 to discuss the following issues regarding their responses.

                         1.       GENERAL OBJECTIONS
               Boston
              Hartford
           Hong Kong
                         It is unclear what documents, if any, were withheld by the BP Parties based on its
               London    general objections. Anadarko is concerned with the breadth of these objections
          Los Angeles    and needs to know what information has been withheld due to them. Moreover,
             New York
                         certain of the objections are on their face unsupportable. For instance:
       Orange County
        San Francisco
         Santa Monica    General Objection No. 7: The BP Parties object to the extent the requests seek
        Silicon Valley   "information or documents concerning other incidents , accidents or other events
                Tokyo
                         at BP facilities or locations other than the Macondo Well or that are otherwise
         Walnut Creek
          Washington     unrelated to the Deepwater Horizon." Anadarko is entitled to information and
                         documents that are reasonably calculated to lead to the discovery of admissible
                         evidence .   Because the BP Parties were operators at the Macondo Well,
                         documents relating to other wells or rigs where the BP Parties are engaged in
Bingham McCutchen LLP
            Suite 4400
                         deepwater drilling may provide insight into the events that that occurred here. See
355 South Grand Avenue
       Los Angeles, CA
           90071-3106


       T 2i3.68o.6400
       F 213.68o.6499
          hingham.com    AXXXXXXXX.2
Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 3 of 9



        J. Andrew Langan, Esq.
        March 18, 2011
        Page 2


        Section III.A below.      As such, this general objection is invalid and must be
        withdrawn.

        General Objection No. 8: The BP Parties object to the extent the requests seek
        disclosure of "trade secrets, proprietary information, or other confidential
        business information without appropriate restrictions on disclosure and
        dissemination that are embodied in a protective order entered by the Court."
        However, in light of PTO No. 13, please confirm no documents have been
        withheld on this basis.

        II.     INTERROGATORIES

                A.      The BP Parties Improperly Invoke Fed .R.Civ.P. 33(d).

        In many instances, rather than provide the substantive information called for by
        Anadarko's Interrogatories, the BP Parties state that "the burden of deriving or
        ascertaining the answer to this interrogatory is substantially the same for
        Anadarko as it is for the BP Parties." Based on this statement, and allegedly in
        reliance upon Fed.R.Civ.P. 33(d) ("Rule 33(d)"), the BP Parties provide the
        following responses:

        1) They indicate they "have produced, or will produce" responsive documents
        without identifying a single document in their answer or indicating when such
        documents will be produced (Responses to Int. Nos..-3, 4, 7, 9, 10, 11, 12 and 18);

        2) They merely refer Anadarko to previous discovery responses given by the BP
        Parties, which previous requests called for different and/or much broader
        categories of information (Responses to Int. Nos. 1 and 2); and

        3) They refer Anadarko to ranges of Bates numbered documents that are so large
        that Anadarko simply cannot ascertain which documents in those ranges are
        responsive and which are not (Responses to Int. Nos. 8, 14, 17, 191 and 22).



        I        The BP Parties' response to Interrogatory No. 19 refers to a 760 page Bates
        range, a portion of which is BP's Internal Investigation Report. However, reference to
        that Report, which in lieu of providing substantive responses, is improper for several
        reasons: first, the Report was finalized almost six months ago, making it highly doubtful
        that it contains all responsive information in the BP Parties' possession, custody or
        control at present; second, the Report does not specifically address the exact question set
        forth in the Interrogatories; and third, the Report was not prepared under oath, as an

                                                              (Footnote Continued on Next Page.)




        A/74024728.2
Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 4 of 9



       J. Andrew Langan, Esq.
       March 18, 2011
       Page 3


       Although Rule 33(d) does allow a responding party to provide business records in
       response to an interrogatory, such response is only proper if the answer can be
       determined by reviewing a "party's business records" and "the burden of deriving
       or ascertaining the answer will be substantially the same for either party." Fed.R.
       Civ.P. 33(d) (emphasis added). However, if the responding party chooses to
       invoke Rule 33(d), they must specify "the records that must be reviewed, in
       sufficient detail to enable the interrogating party to locate and indentify them as
       readily as the responding party could ...." Id. (emphasis added). "Answering an
       interrogatory by generally referring to information or documents previously
       provided does not satisfy the requirement that the answer must be made fully, in
       writing." KeyBank Not. Ass'n v. Perkins Rowe Associates, LLC, 2011 WL
       765925, at * 3 (M.D. La. 2011).

        None of the BP Parties ' responses listed above meet the requirements of Rule
        33(d), because each of those responses fails to provide sufficient detail to enable
        Anadarko to ascertain the answers without having a substantially greater burden
        than the BP Parties would.

               First, merely stating that the BP Parties "have produced or will produce"
        responsive documents, without identifying those documents , is insufficient under
        Rule 33(d). See KeyBank Nat. Ass'n, 2011 WL 765925, at *3.

                Second, in those instances where the BP Parties "refer" Anadarko to the
        BP Parties ' other discovery responses , these responses are improper as well, as
        they do not adequately identify responsive information or documents:

            •    Interro ato Resp onse No. 1: The BP Parties refer Anadarko to their
                 response to Interrogatory No. 22, which interrogatory calls for the
                 identification of employees that communicated or transmitted the
                 September 2009 Audit Report . Interrogatory No. 1, on the other hand,
                 asks the BP Parties to identify its employees who communicated with
                 others about inhibited or bypassed alarm systems. Moreover, as described
                 on pages 4-5 of this letter, the BP Parties ' response to Interrogatory No. 22
                 does not provide the requested information.


        (Footnote continued from Previous Page.)

        Interrogatory response must be.    As such, a substantive and complete answer to this
        Interrogatory must be provided.




        A/74024728.2
Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 5 of 9



       J. Andrew Langan, Esq.
       March 18, 2011
       Page 4


            •   Interrogatory Response No. 2: The BP Parties refer Anadarko to their
                responses to Plaintiffs' Interrogatory No. 31 and RFP No. 131, which
                requests relate to surveys, inspections and similar reports. However,
                Interrogatory No. 2 calls for the names of the BP Parties' employees who
                communicated about the functionality of the BOP. Thus, the BP Parties'
                answer is non-responsive.

       Third, merely referring Anadarko to a huge range of documents does not provide
       Anadarko with sufficient detail to ascertain the answer as readily as the BP
       Parties. See KeyBank Nat. Assn, 2011 WL 765925, at *3.

       Accordingly, .Anadarko requests that the BP Parties promptly revise and
       supplement the foregoing responses and provide either substantive answers or
       references to specific documents (or, at most, narrow ranges of documents) from
       which the answers may be ascertained without undue burden.

                 B.    The BP Parties Fail to Provide Responsive Answers.

        In many instances, the BP Parties have simply chosen not to answer a significant
        portion of the Interrogatories as written. For example, Interrogatory No. 3 calls
        for the identity of all deepwater wells, excluding the Macondo Well, that the BP
        Parties drilled in the "last 10 years" and "directed [its] cement contractor to
        proceed with a cement job when Opticem or similar modeling showed the well
        would have a severe gas flow problem." In response, the BP Parties merely state
        that they will search for "Halliburton Opticem reports for cement jobs in the Gulf
        of Mexico." This answer is clearly not responsive to the interrogatory, as it does
        not address wells drilled outside the Gulf of Mexico or reports other than those
        created by Halliburton. Rather, this appears to be a deliberate attempt to side-step
        the inquiry, and provide only a partial and evasive answer, which is wholly
        improper under the Federal Rules. See Dollar v. Long Mfg., N. C., Inc., 561 F. 2d
        613, 616-17 (5th Cir. 1977).

        Other responses that suffer from the same deficiency are:

            •    Interrogatory Response No. I: The BP Parties fail to identify the BP
                 Parties' employees who communicated on or before April 20, 2010 about
                 alarm systems that were inhibited or bypassed, instead referring to the
                 2009 Audit Report;

            •    Interro gatory Response No. 2: The BP Parties fail to identify the BP
                 Parties' employees who communicated on or before April 20, 2010
                 regarding the functionality of the BOP;




        A/74024728.2
Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 6 of 9



        J. Andrew Langan, Esq.
        March 18, 2011
        Page 5


            •   Interrogatory Response No. 4: The BP Parties have improperly limited
                their response to drilling operations in the Gulf of Mexico and ignored the
                portion of the question about "the number of centralizers" the BP Parties
                chose to use (and actually did use) in a well;

            •   Interrogatory Responses No. 8 9 10 11 , 12, 18: The BP Parties have
                improperly limited (1) its response to drilling operations in the Gulf of
                Mexico, and (2) the relevant time period; and

            •   Interrogatory Response No. 22: The BP Parties fail to identify the BP
                Parties' employees who communicated or transmitted the September 2009
                Audit Report to Transocean, instead referring to the Audit Report itself
                and a long string of bates ranges.

        Anadarko requests that the BP Parties immediately provide responses to these yet
        unanswered Interrogatories.

                 C.    The BP Parties ' Boilerplate Objections are Improper.

        In response to each Interrogatory, the BP Parties assert the following boilerplate
        objection:

                 To the extent Anadarko's interrogatory seeks additional
                 information, the BP Parties object on the grounds that it is
                 overbroad, unreasonable, unduly burdensome, and seeks
                 information not relevant to the claims or defenses of any party.2

        Moreover, the BP Parties fail to provide any response, other than boilerplate
        objections, to Interrogatory Nos. 5, 6, and 13.

        Courts have made clear that conclusory statements and boilerplate objections
        simply asserting that a request is, for example , "overbroad" are improper. See
        McLeod, Alexander, Powel & Apffel, RC. v. Quarles, 894 F. 2d 1482 , 1485 (5th
        Cir. 1990) (citing Joseph v. Harris Corp., 677 F. 2d 985, 991 -92 (3d Cir. 1982).
        Thus, the `party resisting discovery "must show specifically how...each
        interrogatory is not relevant or how each question is overly broad , burdensome or



        2 The BP Parties have included the same boilerplate objections to 22 of Anadarko's 28
        RFPs. This is also improper for the reasons set forth above in Section II.C.




        AXXXXXXXX.2
Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 7 of 9



       J. Andrew Langan, Esq.
       March 18, 2011
       Page 6


        oppressive ."' Id. at 992; see also Nagele v. Electronic Data Systems Corp., 193
        F.R.D. 94, 109 (W.D. N.Y. 2000) (" It is settled law that to support an objection
        based upon burdensomeness the objecting party must particularize the basis for
        the objection as generalized assertions are inadequate .") (emphasis added).

        Here, the BP Parties' boilerplate objections to each Interrogatory are improper
        because they does not particularize the bases for the objections, nor do they
        provide sufficient information for Anadarko to ascertain what, if any, information
        the BP Parties are withholding as a result. The BP Parties must either withdraw
        or clarify these objections immediately, in particular, answers to Interrogatory
        Nos. 5, 6, and 13.

        III.    DOCUMENT REQUESTS

                A.     The BP Parties ' Unilateral Narrowing of Anadarko 's Requests
                       for Production is Improper.

            1. Several of Anadarko's Requests for Production of Documents ("RFPs")
        seek documents regarding the BP Parties' background, knowledge, experience,
        protocols and procedures in various aspects of deepwater drilling. However, in
        response, the BP Parties unilaterally assert that they will only provide a subset of
        the documents called for by the RFP. For example, in RFP No. 24, Anadarko
        calls for the production of documents "relating to the use or potential use of
        FormaSet, Form-a-Squeeze, or any combination of the two, as a spacer in any
        well ...." In response, the BP Parties state that they "will conduct a reasonable
        search .. . for documents relating to the use or potential use of Form-A-Set,
        Form-a-Squeeze, or any combination of the two, as a spacer at the Macondo Well
        on April 20, 2010." Clearly, the RFP was not limited to the Macondo Well or to
        April 20, 2010, nor is there any basis on which it should be so limited.
        Procedures regarding drilling or operating a well, generally, are entirely relevant
        to the issue of the BP Parties' corporate knowledge and whether that knowledge
        was adequately shared with and implemented by the BP Parties' employees
        working on the Macondo Well, in particular. In addition to RFP No. 24, the BP
        Parties' responses to RFPs that have been improperly limited to the Macondo
        Well, activities in connection with the Macondo Well or to the Gulf of Mexico are
        as follows: RFP Nos. 25 and 26.

            2. RFP No. 22 calls for the production of "all communications concerning
        the Kaskida or Nile wells during April 2010." In response, the BP Parties state
        that they "will conduct a search ... for documents sufficient to show their plans
        with respect to the use of the Deepwater Horizon in connection with the Nile or
        Kaskida wells at the time of the April 20, 2010 incident...." The BP Parties




        A/74024728,2
Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 8 of 9



        J. Andrew Langan, Esq.
        March 18, 2011
        Page 7


        have improperly limited the scope of this request, as communications relating to
        the BP Parties' intended use of the Deepwater Horizon in connection with the
        Nile or Kaskida wells are relevant to the issue of whether the BP Parties were
        under time and money pressures during the temporary abandonment procedure at
        the Macondo Well.
            3. In response to RFP Nos. 14 and 15, calling for post-incident "pictures,
        video recordings, X-rays, audio recordings, samples, measurements and/or testing
        results" of or for the Deepwater Horizon or any of its equipment or components,
        and of or for the Macondo Well, the BP Parties state that they will search for
        "results and supporting date of any post-Incident physical testing performed by
        the BP Parties...." To the extent that this response is intended to limit the RFPs
        to only results and data and, further, only to results and data from the BP Parties'
        testing, these limitations are improper. As requested, Anadarko is entitled to all
        evidence of any testing, whether conducted by the BP Parties or by any other
        person or entity.

        As noted, the BP Parties' limitations are improper and must be rectified.

                 B.    The BP Parties ' Refusal to Respond to Certain RFPs Is
                       Without Justification.

            1. The BP Parties refuse to respond to RFP No. 8, which seeks the
        production of all documents reviewed by the BP Parties in connection with their
        preparation of responses to each Interrogatory propounded by Anadarko.
        Although Anadarko asserts that this is an appropriate request, Anadarko is willing
        to meet and confer with the BP Parties in an effort to agree upon narrowing its
        scope.

           2. The BP Parties refuse to provide responses to RFP Nos. 10 and 13, based
        only on their boilerplate objections. As noted above, these objections are
        improper, and responsive documents must be produced.

            3. In response to RFP No. 11, seeking the BP Parties' "policies and
        procedures regarding use of the diverter system on the Deepwater Horizon" as
        well as on deepwater drilling rigs it owns, contracts or leases, the BP Parties
        refuse to provide a response and instead instruct Anadarko to obtain the Well
        Control Handbook from the Transocean Defendants. Clearly, this response is
        improper, as the request call for the BP Parties' policies, not Transocean's.

            4. The BP Parties refuse to provide a response to RFP No. 16, which seeks
        raw data, in native format, that was input to produce the OLGA gas flow model
        discussed in BP's September S, 2010 Accident Investigation Report. In addition




        A/74024728.2
                Case 2:10-md-02179-CJB-DPC Document 1965-9 Filed 04/15/11 Page 9 of 9



                        J. Andrew Langan, Esq.
                        March 18, 2011
                        Page 8


                        to the normal boilerplate objections, which are improper, the BP Parties assert that
                        this request is inconsistent with Pre-Trial Order No. 16. Anadarko requests the
                        BP Parties provide a detailed explanation as to how such request is allegedly
                        inconsistent with Pre-Trial Order No. 16.

                        IV.     ADDITIONAL ISSUES

                           1. With respect to each statement that the BP Parties "will produce
                        documents ," when will such production be made and how will the BP Parties
                        make clear which production is responsive to Anadarko ' s Interrogatories and
                        RFPs?

                           2. With respect to the boilerplate objections set forth at the end of each
                        response to an RFP (identical to the one included in each Interrogatory response,
                        and improper for the same reasons as set forth below in Section II.C), what
                        categories of documents are the BP Parties withholding on the basis of these
                        objections?

                           3. What is the basis for the BP Parties ' unilateral assertion that the "relevant
                        time period" means January 1, 2009 through April 20, 2010? What categories of
                        documents are the BP Parties withholding on the basis of this objection?

                           4. In light of the twelve ( 12) pages of objections posed by the BP Parties to
                        Anadarko ' s Definitions and Instructions , what categories of documents are the BP
                        Parties withholding on the basis of these objections?

                        In light of the foregoing , we propose that the parties meet and confer no later than
                        March 25, 2011 to discuss the BP Parties ' responses and document production.
                        This letter shall serve as Anadarko ' s attempt to meet and confer with the BP
                        Parties pursuant to Rule 37(a)(1).




                                                   T ^4edjpcY.,^_
                        cc: Ky E. Kirby, Esq.
                            Warren Anthony Fitch, Esq.
                            Peter C. Neger, Esq.
                            Diane C. Hertz, Esq.




Bingham McCutchen LLP
         bingham.com    A/74024728.2
